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                                                       Page 1                                                          Page 3
                UNITED STATES DISTRICT COURT                        1        FEDERAL STIPULATIONS
                SOUTHERN DISTRICT OF NEW YORK                       2
                ------------------------------------------X         3            IT IS HEREBY STIPULATED AND AGREED
                MARIA SUAREZ,
                                      Plaintiff,                    4   by and between the counsel for the respective
                            -against         19-CV-02721-GRB-SIL    5   parties hereto, that the filing, sealing, and
                                                                    6   certification of the within deposition shall
                SOUTHERN GLAZER'S WINE & SPIRITS OF                 7   be and the same are hereby waived;
                NEW YORK, LLC,
                                                                    8
                                     Defendant.
                ------------------------------------------X         9            IT IS FURTHER STIPULATED AND AGREED
                                   October 4, 2022                 10   that all objections, except as to the
                                   200 Broadhollow Road            11    form of the question, shall be reserved
                                   Melville, New York
                                   10:30 a.m.                      12   to the times of the trial.
                                                                   13
                      EXAMINATION BEFORE TRIAL of a                14            IT IS FURTHER STIPULATED AND AGREED
               Defendant, Southern Glazer's Wine & Spirit, by      15   that the within deposition may be signed before
               Melissa Johnson, pursuant to Notice, held at
                                                                   16   any Notary Public with the same force and
               the above-mentioned time and place, before
               Camille Dandola, a Notary Public of the State       17   effect as if signed and sworn to before this
               of New York.                                        18   court.
                                                                   19
                                                                   20
                                                                   21               *    *    *      *
                                                                   22
                                                                   23
                                                                   24
                                                                   25


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           1   A P P E A R A N C E S:                               1    M E L I S S A J O H N S O N, the witness
           2                                                        2    herein, having been first duly sworn by a
           3   MOSER LAW FIRM, PC
                                                                    3    Notary Public in and of the State of New York,
               Attorneys for Plaintiff
           4      5 East Main Street                                4    was examined and testified as follows:
                  Huntington, New York 11743                        5            THE REPORTER: Please state your
           5                                                        6         name and address for the record.
               BY: STEVEN MOSER, ESQ.                               7            THE WITNESS: Melissa Johnson,
           6
                                                                    8         3063 Court Street, Syracuse, New York
           7
               CONSTANGY BROOKS SMITH & PROPHETE, LLP               9         13208.
           8   Attorneys for Defendant                             10     EXAMINATION BY
                  175 Pearl Street, Suite C-402                    11     MR. MOSER:
           9      Brooklyn, New York 11201                         12        Q. Good morning, Ms. Johnson. My name is
          10   BY: ANJANETTE CABRERA, ESQ.                         13    Steve Moser. I'm an attorney. I represent Maria
          11
          12                                                       14    Suarez in the case that she is bringing against
          13                                                       15    Southern Glazer's Wine and Spirits for retaliation
          14                                                       16    and for failure to pay her overtime.
          15                                                       17        Q. Have we ever met before today?
          16
                                                                   18        A. No.
          17
          18                                                       19        Q. Have you ever testified under oath
          19                                                       20    before today?
          20                                                       21        A. No.
          21                                                       22        Q. Are you aware that the oath that you
          22
                                                                   23    just took to tell the truth is the same oath that
          23
          24                                                       24    you would take in front of judge or jury in court?
          25                                                       25        A. Yes.


                                                                                               1 (Pages 1 to 4)
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           1                M. JOHNSON                                1                M. JOHNSON
           2        Q. Are you under the influence of any             2       Q. How long have you been inventory
           3   medication or narcotics which will affect your         3   control manager?
           4   ability to testify truthfully and accurately?          4       A. Approximately three years.
           5        A. No.                                            5       Q. What was your job title before?
           6        Q. Is there any reason that you can think         6       A. WMI administrator.
           7   of why you cannot give truthful and accurate           7       Q. For how long were you WMI
           8   testimony today?                                       8   administrator?
           9        A. No.                                            9       A. From 2018 until 2019.
          10        Q. If you don't understand a question of         10       Q. Was the Syracuse facility the first
          11   mine please let me know and I will repeat it or       11   facility to implement WMI?
          12   rephrase it as many times as necessary. I don't       12       A. It was one of the first. Lakeland,
          13   want to you answer a question that you are not sure   13   Florida was the first one to implement it.
          14   that you understand.                                  14       Q. For the remainder of the deposition I'm
          15            Okay?                                        15   going to refer to Southern Glazer's Wine and
          16        A. Yes.                                          16   Spirits as Southern.
          17        Q. Finally, as you just did, you responded       17       A. That's fine.
          18   verbally. All of your responses must be verbal, no    18       Q. Was there a recently a name change?
          19   nods of the head, so that the court reporter can      19       A. It was at approximately six years ago.
          20   take everything down.                                 20   It used to be Southern Wines and Spirits.
          21        A. Okay.                                         21       Q. If I refer to Southern Glazer's Wine
          22        Q. Are you employed?                             22   and Spirits and Southern Wine and Spirits as
          23        A. Yes.                                          23   Southern, do you understand that?
          24        Q. Where are you?                                24       A. Yes.
          25        A. Southern Glazer's Wine and Spirits.           25       Q. What did you do before you were WMI


                                                       Page 6                                                     Page 8
           1                M. JOHNSON                                1                M. JOHNSON
           2       Q. What is your current job title?                 2   administrator?
           3       A. Inventory control manager.                      3       A. Pricing coordinator.
           4       Q. Are you a supervisor?                           4       Q. For how long were you the pricing
           5       A. Manager.                                        5   coordinator?
           6       Q. How many people do you manage?                  6       A. From 2016 to 2018.
           7       A. Four.                                           7       Q. And before being the pricing
           8       Q. What are their titles?                          8   coordinating?
           9       A. Cycle counters.                                 9       A. I was part of customer service, credit,
          10       Q. What facility do you work at?                  10   that was the beginning of 2005 to 2006.
          11       A. Syracuse, New York.                            11       Q. What were your job duties as pricing
          12       Q. How long have you worked at Southern           12   coordinator?
          13   Glazer's Wine and Spirits.                            13       A. I was to obtain different places that
          14       A. Seventeen-and-a-half years.                    14   were going to be for each item and report them to
          15       Q. How did you get hired?                         15   Metro New York in order for them to be filed by the
          16       A. It was a direct hire when the company          16   SLA.
          17   began, opened up, 2005.                               17       Q. What's your highest level of education?
          18       Q. So when that facility opened up you            18       A. Associates degree in accounting.
          19   started in the facility when it opened?               19       Q. What were your job duties as WMI
          20       A. Yes.                                           20   administrator?
          21       Q. At that time who was your manager?             21       A. To ensure that the system was correct
          22       A. Susan Meathe.                                  22   at all times and to direct the cycle counters to
          23       Q. At any time did Kevin Randall become           23   their job duties each day.
          24   your manager?                                         24       Q. The WMI -- that's when you were hired
          25       A. No.                                            25   as WMI administrator?


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           1               M. JOHNSON                                1               M. JOHNSON
           2       A. Yes.                                           2   moved to the new building and we became WMI.
           3       Q. Those were your duties?                        3       Q. Did you have inventory control clerks?
           4       A. Yes.                                           4       A. Yes.
           5       Q. Who did you supervise when you became          5       Q. Before you went to the new building who
           6   WMI administrator?                                    6   supervised the inventory control clerks?
           7       A. Cycle counters.                                7       A. Rick Myer, the inventory control
           8       Q. What were their names?                         8   manager.
           9       A. Jade, Brett, Ty.                               9       Q. What did Rick Myer do when you became
          10       Q. What is a Jade's last name?                   10   the WMI administrator?
          11       A. Burghard.                                     11       A. He would become the inventory control
          12       Q. Brett's last name?                            12   manager.
          13       A. Little.                                       13       Q. Aside from the inventory control clerks
          14       Q. And Ty's last name?                           14   did anyone else report to Richard Myer before WMI
          15       A. Horton.                                       15   was implemented?
          16       Q. As WMI administrator did you supervise        16       A. I don't believe so.
          17   any individuals other than Jay Burghard, Brett       17       Q. Who was he supervising as inventory
          18   Little and Ty Horton?                                18   control manager when you became WMI administrator?
          19       A. Not at the beginning, no.                     19       A. He had no direct reports to him at that
          20       Q. Throughout your years as WMI                  20   time.
          21   administrator did you supervise any other            21       Q. So that was a supervisory position?
          22   individuals?                                         22       A. He was still inventory control manager.
          23       A. Yes.                                          23   When we became WMI it is a different system. So
          24       Q. What other individuals did you                24   they split how it was handled. He became inventory
          25   supervisor?                                          25   control manager and there was a WMI system.


                                                     Page 10                                                   Page 12
           1               M. JOHNSON                                1                M. JOHNSON
           2       A. Jay Burghard still currently employed          2       Q. He did not have any direct reports?
           3   and Luigino Tranelli, David Dulcher and Clayton       3       A. No.
           4   Valliar.                                              4       Q. That is not a supervisory position; is
           5       Q. Are they all cycle counters?                   5   that is your understanding?
           6       A. Yes. And I also supervised Gloria              6            MS. CABRERA: Objection. She
           7   Health, she is retired.                               7        didn't say that, you said that.
           8       Q. Was she also a cycle counter?                  8            MR. MOSER: She can agree with it
           9       A. Yes.                                           9        or not.
          10       Q. Is there a union in that facility?            10            MS. CABRERA: You were posting it
          11       A. There is now. It just became union in         11        as that is what she said.
          12   July 2021.                                           12       Q. Was Rich Myer a manager?
          13       Q. Before it became unionized did you            13       A. That was his title.
          14   participate in conducting performance evaluations?   14       Q. Did he manage any people after WMI was
          15       A. Yes.                                          15   implemented?
          16       Q. For who?                                      16       A. He did not have any direct reports.
          17       A. For the cycle counters.                       17       Q. Does he still work for Southern?
          18       Q. Did you do performance evaluations from       18       A. He does not. He has retired.
          19   the date that you got the WMI administrator          19       Q. Do you have any understanding of what
          20   position until the facility went union?              20   he did as inventory control manager after WMI was
          21       A. Yes.                                          21   implemented?
          22       Q. Who supervised the cycle counters             22       A. He was the person that made adjustments
          23   before you became the WMI administrator?             23   in regards to spoils and claims and other duties
          24       A. There was no cycle counters at that           24   that had to do with the inventory directly other
          25   time. We did not have cycle counters until we        25   than regular cycle counters.


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           1               M. JOHNSON                                 1               M. JOHNSON
           2       Q. Did his duties remain more or less the          2       A. One week.
           3   same from the time that WMI was implemented until      3       Q. When you went go-live in Indiana for
           4   he retired?                                            4   how long did you travel?
           5       A. Yes.                                            5       A. One week.
           6       Q. Did you work with him?                          6       Q. When you went go-live in Illinois did
           7       A. Yes.                                            7   you travel one week as well?
           8       Q. Did you report to him?                          8       A. Yes.
           9       A. No.                                             9       Q. In Texas and Albuquerque did you also
          10       Q. Who did you report to?                         10   travel for one week to go-live?
          11       A. I reported to the warehouse manager.           11       A. Yes.
          12       Q. Who was the warehouse manager?                 12       Q. What did you do in these go-lives?
          13       A. Operations manager, Amis Heaton.               13       A. I would assist the personnel that were
          14       Q. Who did Rich Myer report to?                   14   in the division and answer any questions they had.
          15       A. Amis Heaton.                                   15       Q. Other than assisting the personnel in
          16       Q. Did your duties remain more or less the        16   the division, answering any questions that they
          17   same throughout the time that you were WMI            17   had, did you have any other role in implementation
          18   administrator at the Syracuse facility?               18   of WMI at any of these facilities?
          19       A. Yes.                                           19       A. No.
          20       Q. Did you have to do any travel as WMI           20       Q. Did they have to be trained on WMI?
          21   administrator?                                        21       A. They were trained before WMI goes live.
          22       A. I did not have to do any travel in             22   I was just there to assist them to make sure that
          23   regards to the job duty. I did travel to train        23   they understood exactly what they should do.
          24   other WMI administrators.                             24       Q. Who did the training?
          25       Q. What other WMI administrators did you          25       A. The SCI team. I believe it's an SCI


                                                     Page 14                                                   Page 16
           1                M. JOHNSON                                1               M. JOHNSON
           2   train?                                                 2   team. It is a WMI implementation team.
           3       A. Maria Suarez and she was the only               3       Q. Who is on that team?
           4   direct that I trained. I helped with the go-lives      4       A. I only know of a few, Allen Teringa.
           5   to make sure that the WMI system is correct.           5       Q. Do you know any other members of the
           6       Q. What is a go-live?                              6   team?
           7       A. It's when a system is integrated into           7       A. Not offhand.
           8   the division.                                          8       Q. How many members are on the SGM team?
           9       Q. What other facilities did you assist            9       A. I don't know the exact number.
          10   with go-lives with?                                   10       Q. Where is the SGM team based out of?
          11       A. Delaware, Maryland, South Carolina,            11       A. I believe they were based out of
          12   Indiana, Illinois, Katy, Texas and Albuquerque, New   12   Miramar.
          13   Mexico.                                               13       Q. Miramar, Florida.
          14       Q. When they did a go-live in Delaware did        14       A. Yes.
          15   you travel to Delaware?                               15       Q. Did they also train you in WMI?
          16       A. Yes.                                           16       A. Yes.
          17       Q. For how long were you in Delaware?             17       Q. For how long did you receive training?
          18       A. A week.                                        18       A. Approximately two to three weeks before
          19       Q. When they did a go-live in Maryland did        19   go-live.
          20   you travel to Maryland?                               20       Q. Can you explain what that training
          21       A. Yes.                                           21   consisted of?
          22       Q. For how long were you there?                   22       A. They had what was called a test
          23       A. One week.                                      23   environment and they would walk you through each
          24       Q. For how long were you in South                 24   different part of the test environment and make
          25   Carolina?                                             25   sure you had an understanding of what it


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           1               M. JOHNSON                                 1               M. JOHNSON
           2   implemented and how it was impacting the inventory     2       A. In a location, yes.
           3   and feed into Sapphire.                                3       Q. Location means a physical location in
           4       Q. So WMI was in addition to Sapphire, it          4   the warehouse?
           5   did not replace Sapphire; is that correct?             5       A. Yes.
           6       A. Correct.                                        6       Q. The cycle counter goes there physically
           7       Q. If there had had to be any corrections          7   counts the product at that location and inputs the
           8   made to inventory would that be done through WMI or    8   information into WMI.
           9   Sapphire?                                              9       A. In an RFI gun that feeds into the WMI.
          10       A. WMI.                                           10       Q. Can a person use the RFI gun to scan or
          11       Q. How would that be done?                        11   type in the information?
          12       A. There is different types of                    12       A. They can manually type the count into
          13   adjustments. Depending on what types of adjustment    13   the gun or the location into the gun. They cannot
          14   it was, it would be determining how it would be       14   change or implement what is in that location.
          15   done.                                                 15       Q. That is correct only report what is in
          16       Q. Can you go through the different types         16   that location?
          17   of adjustments?                                       17       A. Correct.
          18       A. There is cycle count, which is where           18       Q. If it's within a certain percentage of
          19   you count at the location. There is an                19   what's in the system, if it is close to what's in
          20   administrator adjustment if they needed to take it    20   the system as being in that location then it will
          21   out of the system for quality hold. The code          21   auto accept?
          22   adjustment which means it is going from one item      22       A. Five cases and $250.
          23   number to another. There was a breakage               23       Q. If the difference between the count and
          24   adjustment. There is spoil. That is not done by       24   what is in the system is five cases and $250.
          25   the WMI administrator. That would be done by the      25       A. It has to meet both requirements.


                                                     Page 18                                                    Page 20
           1                M. JOHNSON                                1                 M. JOHNSON
           2   inventory control manager.                             2        Q. If the difference between what is
           3       Q. What other adjustments were only done           3   counted and what is in the system is five cases and
           4   by the inventory control manager?                      4   $250, what happens?
           5       A. The administrator. The code to code             5        A. It goes to the review screen, that it
           6   and the breakage adjustments were done by the          6   has to be reviewed. It does not deem a cycle count
           7   administrator manager. The only adjustments that       7   yet until it's reviewed and accepted.
           8   were done by the WMI administrator are the cycle       8        Q. Who has the authority to review and
           9   counts.                                                9   accept?
          10       Q. Can you explain what cycle count is?           10        A. WMI administrator.
          11       A. You basically walk up to a location,           11        Q. How would the WMI administrator do
          12   count the product and put it into the gun and if      12   that?
          13   there is a variance then it would depending on if     13        A. It's a certain sequence within the WMI
          14   it was within the auto accept or if it had to be      14   system on a full screen that is actually reports
          15   reviewed. Auto accept was five days, it was $250      15   the information to them.
          16   or if it had to be reviewed you would go to a         16        Q. So the WMI administrator, at least in
          17   another separate screen and that the WMI              17   your understanding of the role, they have a
          18   administrator would have to review it.                18   computer screen?
          19       Q. I am going try and say it because I            19        A. Yes.
          20   think I understand it and for some reason if I am     20        Q. The cycle counters do they have
          21   getting it wrong please let me know.                  21   computers?
          22       A. Okay.                                          22        A. No.
          23       Q. In the system there is a record of how         23        Q. Is this process that you're describing
          24   much inventory there is for a particular item; is     24   is this the same at every location in which the WMI
          25   that correct?                                         25   was implemented?


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           1                M. JOHNSON                                1               M. JOHNSON
           2        A. Yes.                                           2   cycle counters to perform a single count at each
           3        Q. The WMI administrator only has the             3   location where that product was located?
           4   authority to make an adjustment to the cycle count;    4       A. Correct.
           5   is that correct?                                       5       Q. Once the cycle count was performed at
           6        A. Correct.                                       6   each location where the product was stored in the
           7        Q. What type of adjustment could be made          7   warehouse what would happen next?
           8   and why?                                               8       A. At that point the WMI supervisor would
           9        A. It would be a cycle count adjustment.          9   accept the counts for that location.
          10   She would either accept the count that was put into   10       Q. What if there still was a variance?
          11   the system and brought to that review screen or she   11       A. Depending on the quantity they can
          12   could reject it.                                      12   either do more research and look into the previous
          13        Q. Can you explain reasons why you accept        13   location for the items or just accept the quantity
          14   it or reject it?                                      14   and go onto the next item.
          15        A. Accept it because you know that it was        15       Q. As WMI administrator what type of
          16   either counted over or under within a certain time    16   authority in terms of approving cycle counts did
          17   frame and it's just an offset to a previous           17   you have, what type of variance?
          18   adjustment or you would reject it because you want    18       A. As a WMI administrator I had up to
          19   to research it more.                                  19   $1,000 without additional --
          20        Q. Now, if you rejected it would the cycle       20       Q. -- approval?
          21   counter have to recount the cycles at that            21       A. -- approval.
          22   location?                                             22       Q. Who would approve something in excess
          23        A. It would have to be put back in               23   of $1,000?
          24   manually for it to be recounted at that location.     24       A. The operations manager.
          25        Q. When you say "manually" can you               25       Q. Is there some product that has a value


                                                     Page 22                                                    Page 24
           1                M. JOHNSON                                1               M. JOHNSON
           2   explain?                                               2   in excess of $1000 a case?
           3        A. Manually putting it in as a count there        3       A. Yes.
           4   is a set of operations within the system that you      4       Q. What percentage of the product has a
           5   can actually put in a task for them to do to do a      5   value that is in excess of $1000 a case?
           6   cycle count.                                           6       A. Total product?
           7        Q. A manual cycle count?                          7       Q. Yes.
           8        A. The person would create a task for them        8       A. I don't know the percentage.
           9   to go out. There is two different types of cycle       9       Q. Can you approximate?
          10   counts. There is a manual cycle count and system      10       A. Approximately 3 percent.
          11   generated cycle counts.                               11       Q. How frequently would you have to get
          12        Q. Is there a difference in the way that         12   approval from the operations manager for a variance
          13   the cycle counts are performed?                       13   in excess of $1000?
          14        A. No, they are performed the same.              14       A. Not very often. Probably two to three
          15        Q. Once you rejected the adjustment to the       15   times a year.
          16   cycle count, what would happen next?                  16       Q. As WMI administrator do you have any
          17        A. The WMI administrator would put the           17   other duties other than what you have already
          18   count in for the whole item rather than just the      18   described?
          19   specific location.                                    19       A. No.
          20        Q. Can you be more specific?                     20       Q. What is your salary?
          21        A. In the system an item can be live in          21       A. Currently or as WMI administrator?
          22   more than one location. Instead of just counting      22       Q. As WMI administrator what was your
          23   that one specific location they would count all the   23   salary?
          24   locations for the item.                               24       A. Approximately $45,000.
          25        Q. The WMI administrator would tell the          25       Q. Do you know what Richard Myer's salary


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            1                M. JOHNSON                             1               M. JOHNSON
            2   was as inventory control manager?                   2       A. Yes.
            3       A. I have no idea.                              3       Q. How frequently?
            4       Q. Was it more or less than yours?              4       A. When a large variance was deemed by
            5       A. Than the WMI administrator?                  5   someone you would go back and double check to make
            6       Q. Yes.                                         6   sure that they were counting correctly.
            7       A. It was more.                                 7       Q. How frequently was that?
            8       Q. Was your position considered exempt?         8       A. Very infrequent.
            9       A. As WMI administrator, yes.                   9       Q. Other than recounting when there was a
           10       Q. Do you enjoy working at Southern?           10   large variance did you cycle count for any other
           11       A. Yes.                                        11   reason as WMI administrator?
           12       Q. Do you consider yourself a loyal            12       A. No.
           13   employee?                                          13           I take that back. The only time that
           14       A. Yes.                                        14   we did do cycle counts was during our cycle count
           15       Q. Do you have any children?                   15   audit which is when an outside company audits the
           16       A. Yes.                                        16   cycle counters. The cycle counter performs the
           17       Q. How many children do you have?              17   cycle count originally. We actually have to go out
           18       A. One.                                        18   and take another person out. You didn't
           19       Q. How old?                                    19   technically cycle count at the location. You
           20       A. Fifteen.                                    20   brought them to the location.
           21       Q. Are you married?                            21       Q. You brought the auditor to the
           22       A. Yes.                                        22   location?
           23       Q. What does your husband do?                  23       A. Yes.
           24       A. He's a technician for conveyers and         24       Q. The auditor would do the cycle count?
           25   fabricators.                                       25       A. To make that sure that your cycle


                                                     Page 26                                                 Page 28
            1                M. JOHNSON                             1               M. JOHNSON
            2          Q. Who does he work for?                     2   counter counted correctly.
            3          A. IMRS.                                     3       Q. How much inventory is stored at the
            4          Q. Is IMRS affiliated with Southern at       4   security facility in terms of dollar value?
            5   all?                                                5       A. I don't have that information.
            6       A. No.                                          6       Q. Do you know what the total dollar value
            7       Q. We talked about the SGM team, the            7   of the inventory is stored at Metro New York is?
            8   training team, did they use any training videos?    8       A. I don't have that information.
            9       A. No.                                          9       Q. In terms of size which facility is
           10       Q. Did they have any training materials?       10   bigger Syracuse or Metro New York?
           11       A. Yes.                                        11       A. Syracuse has more locations than Metro
           12       Q. What training materials did they use?       12   New York does.
           13       A. They had a booklet of the different         13       Q. How many square feet is the Syracuse
           14   screens that you could use and what they would     14   warehouse?
           15   assist with.                                       15       A. I don't have that information.
           16       Q. Was there any training specific to the      16       Q. In terms of total storage capacity of
           17   WMI administrator position?                        17   the warehouse which warehouse is bigger Metro or
           18       A. Yes.                                        18   Syracuse?
           19       Q. What training was specific to that          19       A. Syracuse.
           20   position?                                          20       Q. By how much?
           21       A. It went over the different screens that     21       A. I don't know what the variance is
           22   you would need to review and ways of making        22   between the two.
           23   corrections.                                       23       Q. Were you present for any training given
           24       Q. As WMI administrator did you ever           24   by the SGM team to individuals at Metro New York?
           25   personally perform cycle counts?                   25       A. Not during their training, no.


                                                                                      7 (Pages 25 to 28)
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                                                     Page 29                                                   Page 31
           1                M. JOHNSON                                1               M. JOHNSON
           2       Q. Do you have any personal knowledge of           2   into the inventory control manager.
           3   the any training given by the SGM team to employees    3       Q. When was it absorbed?
           4   at Metro New York?                                     4       A. When we had a company wide
           5       A. No, I do not.                                   5   reorganization in 2018.
           6       Q. Who would know about that besides the           6       Q. As of today is there a WMI
           7   employees themselves?                                  7   administrator position in Maryland?
           8       A. I would assume the trainers. I don't            8       A. I don't believe there is a WMI
           9   know exactly who would have trained the Metro New      9   administrative position.
          10   York employees.                                       10       Q. Was there ever a WMI administrative
          11       Q. Do you have any personal knowledge of          11   position in Maryland?
          12   any training given by SGM to Maria Suarez?            12       A. I don't believe so.
          13       A. I don't know what her training left was        13       Q. Who was the WMI administrator for
          14   from SGM.                                             14   Maryland, was that you?
          15       Q. Do you know if she received any                15       A. No.
          16   training from SGM?                                    16       Q. They just didn't have a WMI
          17       A. I believe that she did. I believe they         17   administrator?
          18   were in beforehand.                                   18       A. They did not become WMI until recently.
          19       Q. Do you know whether she received any           19       Q. Who implemented WMI, did you do that?
          20   training from SGM?                                    20       A. The SGM team would have implemented
          21       A. Not personally, no. I was not present          21   that.
          22   for it so I don't know what she received.             22       Q. How about South Carolina, is there a
          23       Q. Did Maria Suarez ever tell you or share        23   WMI administrator for South Carolina?
          24   with you any of the training that she had received?   24       A. I don't know that at this point.
          25       A. She received training from myself              25       Q. Was there ever a WMI administrator for


                                                     Page 30                                                   Page 32
           1               M. JOHNSON                                 1               M. JOHNSON
           2   before WMI went live. She did not tell me what         2   South Carolina?
           3   training she received from the SGM team.               3       A. When I went down there there was a WMI
           4       Q. For how long did you travel to Metro            4   administrator at that time. That was prior to
           5   New York for the go-live?                              5   2019.
           6       A. Initially I traveled for one week.              6       Q. That position was eliminated in 2019?
           7       Q. Did you ever come back?                         7       A. I believe so. I believe it was company
           8       A. Yes.                                            8   wide that that position was eliminated.
           9       Q. On how much occasions?                          9       Q. What's that belief based upon?
          10       A. Three weeks, three separate weeks.             10       A. There was a company reorganization in
          11       Q. Why did you come back on three separate        11   2019 where it compiled positions into single
          12   weeks?                                                12   positions rather than multiple positions.
          13       A. There was some issues with stuff that          13       Q. How do you know that?
          14   was needed to be taken care of were not being done.   14       A. Because I was there for it.
          15       Q. What was not being done?                       15       Q. Do you know that based upon something
          16       A. There was different aspects of the             16   someone told you?
          17   position that wasn't being done. I could see          17       A. It was a company-wide reorganization
          18   because I had access to the Metro facility.           18   that my operations manager had told me.
          19       Q. Did you have access to any facility            19       Q. Who was your operations manager?
          20   other than Metro?                                     20       A. Amis Heaton.
          21       A. I have access to every facility that I         21       Q. Did Amis tell you that all of the WMI
          22   go-live to.                                           22   administrative positions were being eliminated?
          23       Q. As of today is there a WMI                     23       A. There was a company-wide reorganization
          24   administrator in Delaware?                            24   and the position was merged into another position
          25       A. I believe that position was absorbed           25   which was inventory control manager.


                                                                                       8 (Pages 29 to 32)
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                                                     Page 33                                                   Page 35
           1               M. JOHNSON                                1                M. JOHNSON
           2       Q. When you say "merged"?                         2   layoff. I don't know of any layoffs. I only know
           3       A. The inventory control manager was not          3   of buyouts that were that offered to employees.
           4   responsible for the maintaining of the WMI system.    4            (Whereupon, a short recess was
           5       Q. That was Amis who told you that's a            5        held.)
           6   company-wide decision?                                6       Q. Are you aware that Maria Suarez
           7       A. Correct.                                       7   separated from employment with Southern in April of
           8       Q. Were any WMI administrators let go as          8   2018?
           9   part of that reorganization?                          9       A. I was informed of it after the fact.
          10       A. To my knowledge, I am not sure.               10       Q. Who informed you?
          11       Q. Are you aware that Southern is saying         11       A. Tonisha Durant.
          12   that Maria Suarez was let go as a result of that     12       Q. Who was the WMI administrator at that
          13   reorganization?                                      13   facility after Maria was no longer there?
          14           MS. CABRERA: Objection. You are              14       A. I believe Tonisha is the one that took
          15        talking about two different years.              15   on the responsibility. I believe Tonisha took the
          16        That's not what Southern said. You are          16   responsibility but Barry was also involved.
          17        not on the right timeline.                      17       Q. Barry who?
          18       Q. So let's go back to 2018. In 2018 was         18       A. Finkelstein.
          19   there a WMI administrative position in Maryland?     19       Q. Are you familiar with what Maria Suarez
          20       A. They were not WMI at that time.               20   was doing before she became WMI administrator?
          21       Q. When did they go WMI again?                   21       A. I was not.
          22       A. Approximately three years ago. Two            22       Q. Do you have any personal knowledge of
          23   years ago.                                           23   what Maria Suarez's job was at Southern before she
          24       Q. That was after the company-wide               24   became WMI administrator?
          25   reorganization?                                      25       A. I was told what she used to do. I


                                                     Page 34                                                   Page 36
           1                M. JOHNSON                               1              M. JOHNSON
           2       A. Yes.                                           2   didn't work with her personally before then.
           3       Q. As of 2018 was there a WMI                     3        Q. Who told you what she used to do?
           4   administrative position in Delaware?                  4        A. Tonisha.
           5       A. I believe so.                                  5        Q. What did Tonisha say?
           6       Q. As of 2018 was there a WMI                     6        A. She was the inventory manager.
           7   administrative position in all the other locations    7        Q. Did Maria Suarez report to Tonisha
           8   that you did go-live in?                              8   Durant?
           9       A. To my knowledge, there would be. I             9        A. I believe her direct report was John
          10   don't know for sure that there was but. . .          10   Wilkinson. As WMI administrator?
          11       Q. As of 2018 was there a WMI                    11        Q. Yes.
          12   administrator in Metro New York?                     12        A. John Wilkinson.
          13       A. Yes.                                          13        Q. Did Maria Suarez report to Tonisha
          14       Q. Who was that?                                 14   Durant?
          15       A. Maria Suarez.                                 15        A. No, she did not.
          16       Q. At some point was the WMI administrator       16        Q. Did Tonisha Durant supervise Maria at
          17   position eliminated in Metro New York?               17   all?
          18       A. During the reorganization.                    18        A. No, she did not.
          19       Q. When was that?                                19        Q. Did Tonisha Durant direct Maria Suarez?
          20       A. In 2019, I believe.                           20        A. If there was an inventory issue she
          21       Q. How many people were laid off? Are you        21   would send her an email in regards to having it
          22   familiar with how many people were laid off as a     22   resolved.
          23   result of the reorganization in 2019?                23        Q. Do you remember the first time that you
          24       A. I do not know the number. During that         24   met Maria?
          25   part of that reorganization was a buyout not a       25        A. I met Maria I believe at the beginning


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                                                      Page 37                                                   Page 39
            1               M. JOHNSON                                 1                M. JOHNSON
            2   of 2016.                                               2   position.
            3       Q. Where did you meet her?                         3       Q. Besides being eager did you have any
            4       A. She came to the Syracuse facility to            4   other opinions, did you form any other opinion as
            5   shadow me for three days.                              5   to what type of person she was after those first
            6       Q. Explain what happened during those              6   three days?
            7   three days?                                            7       A. No.
            8       A. I explained how the system worked and           8       Q. Was she polite?
            9   how a WMI administrator's position was run and how     9       A. Yes.
           10   the cycle counts were directed and how the cycle      10       Q. Did she appear to follow the
           11   counts were performed.                                11   instructions?
           12       Q. Can you explain those interactions that        12       A. Yes.
           13   you had with her during those first three days?       13       Q. Did she appear to be knowledgeable?
           14       A. I gave her the knowledge of the system,        14       A. Yes.
           15   the different screens to go into. She was -- she      15       Q. How long had she worked for Southern?
           16   actually walked with my cycle counters so she can     16       A. I don't know her exact term of
           17   see what a cycle count was and how it was             17   employment.
           18   performed.                                            18       Q. Had any other individual come to your
           19       Q. Did you form an opinion as to her              19   facility to shadow you?
           20   ability to do the job of WMI administrator after      20       A. No.
           21   those three days?                                     21       Q. Do you know why she was sent to your
           22       A. She currently was not on the system.           22   facility to shadow you?
           23   So I didn't know how she would perform because she    23       A. Because of the proximity of the
           24   hadn't even used the system yet.                      24   locations.
           25       Q. Do you know if she ever had an                 25       Q. Do you know who made that decision?


                                                      Page 38                                                   Page 40
            1                M. JOHNSON                                1               M. JOHNSON
            2   opportunity to use the system before go-live?          2       A. I believe Kevin Randall and John
            3        A. There was a test environment created so        3   Wilkinson.
            4   she can actually use the test system that simulates    4       Q. After you and Maria spend those three
            5   the same exact system.                                 5   days in Syracuse -- did she travel every day or
            6        Q. Did you have personal knowledge that           6   stay up there?
            7   she had access to the simulation?                      7       A. She stayed in Syracuse.
            8        A. I don't have personal knowledge. I did         8       Q. When did you next meet her?
            9   not see her log into it. I was told that they had      9       A. I saw her the week of go-live.
           10   a test system.                                        10       Q. When was that approximately?
           11        Q. Who told you that?                            11       A. I believe July of '16.
           12        A. Allen Teringa.                                12       Q. What was the level of interaction that
           13        Q. What did you think of Maria after the         13   you had with her during the week of go-live?
           14   first three days that you spent with her?             14       A. I sat right next to her every day and
           15        A. By think, as far as she had knowledge         15   went over each aspect of the position. In
           16   to perform the job.                                   16   directing the cycle counters every morning.
           17        Q. Besides your opinion that she had the         17       Q. Had you done that at any other facility
           18   knowledge to perform the job did you form any other   18   when there was a go-live?
           19   opinion of her after the first three days?            19       A. Yes.
           20        A. I just felt that she would have more          20       Q. Had you done that at each facility when
           21   better training with hands-on once it went live.      21   there was a go-live?
           22   To have more of knowledge of how the system would     22       A. Yes.
           23   work.                                                 23       Q. Did you form an opinion about Maria
           24        Q. As a person what did you think of her?        24   during the week of go-live?
           25        A. She seemed very eager to do the               25       A. That she was performing the job and


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                                                      Page 41                                                    Page 43
            1                M. JOHNSON                                1               M. JOHNSON
            2   that she needed some more knowledge of the system      2       Q. After the week of sitting with Maria
            3   before being able to do everything.                    3   did you have any reason to believe that she would
            4       Q. What additional knowledge did you think         4   not be successful as to WMI administrator?
            5   that she needed?                                       5       A. I did not think that she would not be
            6       A. I actually created a daily/weekly               6   successful, no.
            7   report of what needed to be done each day and each     7       Q. When you went go-live before had you
            8   week.                                                  8   ever had doubts about a WMI administrator's ability
            9       Q. What knowledge did you think that she           9   to successfully do the job?
           10   lacked at that time?                                  10       A. I did not get that within a week I
           11       A. I think it was more of a new system and        11   would reevaluate a month later and if someone
           12   just not knowing the system. So the knowledge was     12   needed more assistance I would go back to after
           13   that she was not familiar with the system as in any   13   that.
           14   new thing.                                            14       Q. How many WMI administrators did you go
           15       Q. In your opinion was she?                       15   back for?
           16            MS. CABRERA: Hold on. If you're              16       A. I went back for Delaware, South
           17        still speaking and he starts speaking,           17   Carolina and Katy, Texas.
           18        don't stop.                                      18       Q. On how many different occasions?
           19       A. It was just a new system and the               19       A. A week.
           20   knowledge of the system it takes sometime to get      20       Q. For each one?
           21   used to the ins and outs of the new screens.          21       A. Yes.
           22       Q. How many other locations had you gone          22       Q. Why did you go back for that week?
           23   live at before?                                       23       A. Just to reiterate some things that were
           24       A. All but Maryland.                              24   lacking and to be sure they understood exactly what
           25       Q. In your opinion when you sat with the          25   needed to be done.


                                                      Page 42                                                    Page 44
            1                M. JOHNSON                                1               M. JOHNSON
            2   WMI administrators at those other facilities before    2       Q. Who authorized that? Who requested or
            3   you sat with Maria did you also provide them with      3   authorized you to go, who requested you to go?
            4   the procedures?                                        4       A. The operations manager from each
            5       A. Yes, those were already set.                    5   location.
            6       Q. I am going to show you what was                 6       Q. Who authorized you?
            7   previously marked as Plaintiff's Exhibit 2 for         7       A. My operations manager Amis Heaton.
            8   identification. Are those the procedures that your     8       Q. Did it have to be approved by someone
            9   talking about?                                         9   above your operations manager?
           10       A. Yes.                                           10       A. I don't know that knowledge.
           11       Q. This you had given to each and every --        11       Q. Was there any WMI administrator other
           12       A. This was was given to myself and this          12   than Maria who was unsuccessful in fulfilling the
           13   was also given to others. This is a general           13   WMI administrator position?
           14   procedure that was handed to the WMI                  14       A. I don't know of that information.
           15   administrators.                                       15       Q. Do you know of anyone as you sit here
           16       Q. By whom?                                       16   today other than Maria who was not successful at
           17       A. This one condensed version of mine but         17   the WMI administrator position?
           18   there is -- yes, those are the other procedures       18       A. I don't.
           19   that are handed to each administrator.                19       Q. How many times in total did you come
           20       Q. I am going to show you what was                20   back to Metro New York after the go-live?
           21   previously marked as Plaintiff's Exhibit 4 are        21       A. Two times I believe. For the WMI end
           22   these the other procedures that were given to the     22   of it, yes.
           23   administrators?                                       23       Q. Correct. How many times in total did
           24       A. Yes, this was given out by the SCM             24   you come back to Metro New York after go-live?
           25   team.                                                 25       A. For other duties.


                                                                                       11 (Pages 41 to 44)
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                                                      Page 45                                                    Page 47
            1               M. JOHNSON                                 1               M. JOHNSON
            2       Q. Yes.                                            2       A. I sent her reports in regards to what
            3       A. Several. I can't honestly tell you              3   was not being completed but that was not training.
            4   exactly how many.                                      4   That was just the reports of the different aspects.
            5       Q. Can you give me any estimate of the             5       Q. Had you had any conversations with John
            6   number of times that you came?                         6   Wilkinson regarding Maria between the date of
            7       A. Anywhere between five and 10.                   7   go-live and October of 2016 when you sat with her?
            8       Q. You came to Metro New York facility             8       A. I sent him weekly reports of the
            9   between five and 10 times after the go-live for        9   different aspects of Plaintiff's Exhibit 2 that
           10   different reasons?                                    10   were not being completed.
           11       A. Correct.                                       11       Q. Did Maria report to you?
           12       Q. Two of those times were for the                12       A. She did not.
           13   purposes of WMI?                                      13       Q. When you sent those weekly reports to
           14       A. Yes. To sit with Maria.                        14   John Wilkinson under whose direction were you
           15       Q. Do you recall the first time that you          15   acting?
           16   sat after going live?                                 16       A. John Wilkinson.
           17       A. I believe it was October of 2016.              17       Q. When did he start asking you to do
           18       Q. How long were you with her then.               18   that? Was it from the beginning of go-live?
           19       A. One week.                                      19       A. It was approximately a month
           20       Q. When was the next time that you sat            20   afterwards.
           21   with her?                                             21       Q. Was that in a conversation or email?
           22       A. January of '17. For a week as well.            22       A. That was a conversation.
           23       Q. What did you think of Maria after the          23       Q. Tell me about that conversation?
           24   week that you spent with her in October of 2016?      24       A. It was a phone conversation because I
           25       A. After that week at the end of that week        25   could see into their system and see what had been


                                                      Page 46                                                    Page 48
            1               M. JOHNSON                                 1                M. JOHNSON
            2   we had a sit down with John Wilkinson went over        2   complete and advise him there was issues of
            3   every aspect of that Plaintiff's Exhibit Number 2      3   completion of each step of the position.
            4   to make sure that she was clear that she needed to     4       Q. What did you advise them hadn't been
            5   know exactly what she needed to do and had her sign    5   completed?
            6   off on it. That was the way that it was left.          6       A. I had printed each part of that Exhibit
            7       Q. That was your first visit after going           7   2 in detail and scanned them in and emailed them to
            8   live, correct?                                         8   him.
            9       A. Yes.                                            9       Q. When did you send that email to John
           10       Q. At the end of that week you and John           10   Wilkinson?
           11   Wilkinson and Maria sat in the room and she was       11       A. I don't have the exact dates.
           12   presented with something for her signature?           12           (Whereupon, Plaintiff's Exhibit 5
           13       A. I believe so.                                  13        was marked for identification.)
           14       Q. What was presented to her?                     14       Q. I am going to show you what has been
           15       A. I believe it was this actual paper in          15   marked as Plaintiff's Exhibit 5. Is that the email
           16   that she acknowledged that she understood the         16   that you are referring to?
           17   different aspect of the job and that she would be     17       A. (Witness perusing document.) Yep.
           18   able to perform it.                                   18       Q. What is the date of that email?
           19           MS. CABRERA: For the record the               19       A. This is November of 2016, November 23
           20        witness is referring to Plaintiff's              20   of 2016.
           21        Exhibit Number 2.                                21       Q. Did you ever speak with Maria by
           22       Q. Had you given any training to Maria            22   telephone between the time of the go-live and when
           23   between go-live and October of 2016?                  23   you sat with her in October of 2016?
           24       A. Not in person, no.                             24       A. I believe that I have. I don't know
           25       Q. How about any other type of training?          25   the exact dates, I believe that I had.


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            1               M. JOHNSON                               1                M. JOHNSON
            2       Q. When was the first time that you              2   direct the cycle counters.
            3   reported to John Wilkinson that there were issues    3       Q. Do you know if she was assigned to any
            4   with WMI?                                            4   other duties besides those particular duties?
            5       A. I don't know the exact date.                  5       A. I do not.
            6       Q. With regard to -- when was the live           6       Q. Did Maria tell you why she was
            7   approximately again?                                 7   overwhelmed?
            8       A. July.                                         8       A. She told me that she was overwhelmed
            9       Q. Of 2016?                                      9   with the magnitude of the system and trying to
           10       A. Yes.                                         10   understand all of the aspects of the system.
           11       Q. Do you know if you since began sending       11       Q. Do you have an opinion about Maria
           12   emails a week after, a month after?                 12   today? As an employee, as a person?
           13       A. I don't know exactly the time frame.         13       A. As an employee she struggled with the
           14       Q. When was the first time that you             14   position as far as making sure that everything was
           15   noticed any WMI issues after go-live in Metro New   15   accurate and correct to company standards. Other
           16   York?                                               16   than that I don't have any -- I mean she directed
           17       A. Approximately two weeks after. I             17   her employees. They seemed to be happy with her
           18   wasn't reviewing their stuff right away because I   18   directions.
           19   was focused on my own division.                     19       Q. Did she appear hostile to you?
           20       Q. You noticed something about two weeks        20       A. Not to myself, no.
           21   after the go-live in Syosset, correct?              21       Q. Did she refuse to follow your
           22       A. Yes.                                         22   directions?
           23       Q. What did you do then after you notice        23       A. I don't believe she refused to follow
           24   there was an issue with the go-live?                24   my directions.
           25       A. I believe that I contacted Maria and         25       Q. Would you describe her as cooperative?


                                                     Page 50                                                   Page 52
            1               M. JOHNSON                               1               M. JOHNSON
            2   explained to her that there was some stuff that I    2        A. Yes.
            3   saw on the system that hadn't been taken care of     3        Q. Did she have a "I know better"
            4   yet.                                                 4   attitude?
            5        Q. Tell me what you recall about that           5        A. I don't believe so.
            6   particular conversation?                             6        Q. Why did you think that she was
            7        A. I believe she said that she knew that        7   ultimately unsuccessful as the WMI administrator?
            8   there was some stuff that she was overwhelmed and    8        A. I honestly don't know why she was not
            9   she was going to get to it.                          9   able to do the task. I feel that she had knowledge
           10        Q. When you were at the go-live was Maria      10   and capabilities of doing everything that she was
           11   managing or supervising any employees?              11   given.
           12        A. The cycle counters.                         12        Q. Were you present during any
           13        Q. How many cycle counters were there?         13   interactions between John Wilkinson and Maria other
           14        A. Four.                                       14   than when you sat in -- when you sat together at
           15        Q. When you met with Maria Suarez in           15   the end of the week that you spent with Maria in
           16   October of 2016 and you sat with her was she        16   October of 2016?
           17   supervising any employees?                          17        A. There was another meeting in January of
           18        A. The four cycle counters.                    18   2017 as well.
           19        Q. At any point was her supervisory            19        Q. Did Mr. Wilkinson appear to be angry
           20   authority taken away, to your knowledge?            20   with Maria?
           21        A. Not to my knowledge.                        21        A. No.
           22        Q. Do you know what tasks she was assigned     22        Q. Did you speak to John Wilkinson about
           23   to do by John Wilkinson?                            23   Maria's performance at any time?
           24        A. I believe she was assigned the task of      24        A. Other than the jobs not being
           25   WMI administrator to oversee the system and to      25   completed, no.


                                                                                     13 (Pages 49 to 52)
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                                                      Page 53                                                  Page 55
            1                M. JOHNSON                                1               M. JOHNSON
            2        Q. What types of things or issues were            2       Q. If he had sufficient grasp is there a
            3   there with WMI in Syosset that you noticed after       3   particular reason why you went to the facility?
            4   two weeks?                                             4       A. I think because I perform the position
            5        A. I mean, the different aspects.                 5   daily and do it daily and know every step of what
            6   Everything on this sheet has to be done daily or       6   needs to be done and how to facilitate it.
            7   weekly or the inventory is not being reported          7       Q. Do you know why Maria Suarez is no
            8   correctly. The shipments cannot go out correctly.      8   longer at Southern Glazers?
            9   It's very much needed to have all of that              9       A. I was told that due to her issues with
           10   corrected, Exhibit 2.                                 10   the position.
           11        Q. Was Tonisha Durant having any issues          11       Q. Who told you that?
           12   with the implementation?                              12       A. That was Tonisha after she was let go.
           13        A. When it became part of her position,          13       Q. Did you ever see Maria saying something
           14   no, I don't believe so.                               14   that was untrue?
           15        Q. Was she having any difficulty with            15           MS. CABRERA: Objection.
           16   implementation as part of her own position before     16       Q. You can't see someone saying that.
           17   Maria was no longer with Southern?                    17           Did you ever hear Maria say anything in
           18        A. I don't believe so.                           18   your opinion that was untrue?
           19        Q. Is it company policy at Southern to           19       A. Untrue to the position or --
           20   issue performance evaluations on a yearly basis?      20       Q. In with regard to anything?
           21        A. Yes.                                          21       A. I honestly I don't think I remember
           22        Q. Do you know whether Maria Suarez              22   everything. I don't remember anything of her
           23   received performance evaluations on a yearly basis?   23   saying that something was untrue.
           24        A. It's a company standard. I don't know         24       Q. Did you consider her to be trustworthy?
           25   for a fact that she received them. It's company       25       A. Yes.


                                                      Page 54                                                  Page 56
            1               M. JOHNSON                                 1               M. JOHNSON
            2   standard. Every employee receives a performance        2       Q. Did you consider her to be an honest
            3   evaluation.                                            3   individual?
            4       Q. What would you do if you didn't receive         4       A. I believe so.
            5   an evaluation?                                         5       Q. So you sit with her in October of 2016
            6       A. I would ask why I did not receive an            6   and you sat with her again?
            7   evaluation.                                            7       A. In January of 2017, correct.
            8       Q. Is every employee entitled to an                8       Q. Why did you come back in January of
            9   evaluation?                                            9   2017?
           10       A. Every employee is given an evaluation.         10       A. There were still issues of the aspects
           11       Q. Have you ever come across any instance         11   of that position not being performed correctly.
           12   where a yearly performance was not given at           12       Q. What were those specific issues?
           13   Southern?                                             13       A. Parts of the job were not being
           14       A. No.                                            14   completed.
           15       Q. Are you familiar with any litigation or        15       Q. What parts of the job were not being
           16   lawsuits regarding what was happening at the Metro    16   completed?
           17   New York facility?                                    17       A. I don't know exactly. I had notes on
           18       A. I was not aware of anything until this         18   it. Everything has been purged since. Our system
           19   one.                                                  19   gets purged.
           20       Q. In your opinion did John Wilkinson have        20       Q. The email system?
           21   a good understanding of the WMI system?               21       A. Yes, every six months.
           22       A. I believe so.                                  22       Q. So when you saw these problems with the
           23       Q. Did he have a sufficient grasp to guide        23   WMI at Syosset you would send an email?
           24   Maria if he wanted to?                                24       A. Yes.
           25       A. I believe so.                                  25       Q. To whom?


                                                                                      14 (Pages 53 to 56)
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                                                      Page 57                                                    Page 59
            1                M. JOHNSON                                1                M. JOHNSON
            2       A. John Wilkinson.                                 2   this document, Plaintiff's Exhibit 5 are scanned?
            3       Q. How do you know that the email gets             3        A. Yes.
            4   purged every six months?                               4        Q. I am going to draw your attention to
            5       A. It's a company standard.                        5   SGWS 001880. Whose handwriting is that?
            6       Q. Do you know were you ever asked to              6        A. This page?
            7   search for emails before from you to John Wilkinson    7        Q. Yes.
            8   regarding Maria?                                       8        A. That's my handwriting.
            9       A. As part of this litigation I was asked          9        Q. Who asked for you to send this
           10   to turnover any information that I had in regards     10   information to John Wilkinson?
           11   to Maria. I turned over my scans. That is             11        A. John Wilkinson.
           12   Plaintiff's Exhibit 5.                                12        Q. I am going to go through this and I
           13       Q. This, just to clarify, this email in           13   will try to be as quick as I can.
           14   which you send the scans is dated November of 2016,   14            What 880, you have your handwriting, is
           15   correct?                                              15   what is the highlighting that is on this page? Why
           16       A. Yes.                                           16   is that highlighted.
           17           MS. CABRERA: For the record,                  17            MS. CABRERA: For the record,
           18        Plaintiff's Exhibit Number 5 is the              18        counsel is referring to Exhibit Number
           19        document being referenced.                       19        5. A page of Exhibit Number 5.
           20           THE WITNESS: Correct.                         20        A. So this is referring to Exhibit 2's
           21       A. The reason that that email, I still            21   portion of the pick pack daily what needs to be
           22   have it, because I put that with the scan. It was     22   done daily. That was not completed. It's all the
           23   part of the scan.                                     23   items that were not done and it states that all of
           24       Q. So you are saying that Plaintiff's             24   the highlighted have been cleaned up by myself
           25   Exhibit 5, correct, this sheet, the first page,       25   because they were not completed by Maria as she was


                                                      Page 58                                                    Page 60
            1                 M. JOHNSON                               1               M. JOHNSON
            2   this is a scanned document this is not a PDF and       2   supposed to be doing daily.
            3   this was not retrieved from the email?                 3       Q. How were they supposed to be cleaned
            4            MS. CABRERA: Objection. Why                   4   up?
            5        don't you ask her how she created this            5       A. She was supposed to pick the orders
            6        document.                                         6   because in our understanding every night every
            7       Q. How did you create that document?               7   order that comes down should be picked, packed and
            8       A. At the time back in November I printed          8   shipped?
            9   this and during my scan I would always keep my         9       Q. Can you be more specific?
           10   email with my scan.                                   10       A. Picked by the person picking it.
           11       Q. Do you know how this was printed out           11   Packed by the sorter, going down to the truck and
           12   for the purposes of this case?                        12   then shipped onto the truck to the customer.
           13       A. I would assume that it was printed as          13       Q. What does that report show?
           14   part of my scan that I had sent over as a file.       14       A. This shows that they are not done.
           15       Q. To whom?                                       15   Because they are still in status 10.
           16       A. To the attorneys of the company.               16       Q. What is status 10 mean?
           17       Q. So just for clarification, this entire         17       A. Still not complete, waiting to be
           18   document was scanned and then sent?                   18   picked, packed and shipped.
           19       A. And scanned and saved to my system and         19       Q. Can you be anymore specific?
           20   I sent it to them as a file.                          20       A. The order was not picked through the
           21       Q. Did you scan the email as well?                21   system, packed through the system or shipped
           22       A. At the time of the -- right after I            22   through the system.
           23   would do a scan I would print my email sent out and   23       Q. Can you explain how Maria would pick,
           24   scan that as well. It's a scan as well.               24   pack and ship through the system?
           25       Q. Just to clarify the first two pages of         25       A. She would have to go through each


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                                                      Page 61                                                    Page 63
            1               M. JOHNSON                                 1               M. JOHNSON
            2   order, get the carton number, pick it and close the    2   on her job description as WMI administrator?
            3   invoice that would pack and ship it.                   3        A. I don't know what her job description
            4       Q. Is that how you explained it to her?            4   entailed.
            5       A. Correct.                                        5        Q. You don't know if any of these things
            6       Q. Can you be anymore specific on the              6   listed on the form were part of her job
            7   instructions that you gave her with regard to the      7   description?
            8   picking, packing and shipping?                         8        A. I don't know the specific job
            9       A. Instructions were to pull up the                9   description that was given to her.
           10   invoice number after speaking with whomever from      10        Q. Do you know whether anything on this
           11   the department that she would have to speak with      11   form is in her job description?
           12   because this is different types of orders, and then   12        A. I do not.
           13   she would go into the full function RF and pick       13        Q. Do you know who created her job
           14   each carton number that was not picked. After it      14   description?
           15   was picked then she would go to the invoice and       15        A. I do not.
           16   close the invoice.                                    16        Q. Do you know who explained to her what
           17       Q. Before we were talking about the duties        17   her job would be?
           18   of WMI administrator?                                 18        A. I do not.
           19       A. Yes.                                           19        Q. Do you know what was explained to her
           20       Q. You mentioned that you listed the              20   regarding her job?
           21   duties of the WMI administrator. Did you omit         21        A. I know what I explained to her. I
           22   anything from the WMI administrator's duties when     22   don't know of any other explanation from someone
           23   we earlier spoke?                                     23   else. I don't know what they told her.
           24       A. No, because they are on the paper and. . .     24        Q. Were you ever furnished or provided
           25       Q. Before we talked about the cycle               25   with a copy of Maria's actual job description?


                                                      Page 62                                                    Page 64
            1                M. JOHNSON                                1                M. JOHNSON
            2   counters, correct?                                     2       A. No.
            3       A. Yes.                                            3       Q. Do you believe that your job
            4       Q. The purpose of the cycle counters was           4   description adequately and fairly describes what
            5   to actually go out and count?                          5   your duties are when you were a WMI administrator?
            6       A. Correct.                                        6           MS. CABRERA: Objection. If you
            7       Q. Maria supervised the cycle counters?            7        can answer that question, answer it.
            8       A. Correct.                                        8       A. I don't remember what my job duties
            9       Q. She was able to approve a variance?             9   were given to me.
           10       A. Up to $1000 in Syracuse, New York a            10       Q. So if we can, let's go through
           11   variance that I can approve to $1000. If it's not     11   receiving two to three times per week, if you can
           12   an offset. I don't know what the variance is for      12   explain each one of these items what she was
           13   Metro.                                                13   supposed to do?
           14       Q. What else was she required to do               14       A. First one is to ensure all POs and
           15   besides supervise the cycle counters?                 15   transfers were complete. To make sure when a PO
           16       A. Plaintiff's Exhibit 2.                         16   came in it is received, it was closed in the system
           17       Q. Let's just go through Plaintiff's              17   so that it could report directly to the Sapphire
           18   Exhibit 2. Do you know if this was furnished to       18   System.
           19   her at the time that she was offered the job?         19       Q. How would that be done?
           20       A. I don't know that.                             20       A. That would be going into the receiving
           21       Q. When did you furnish this to Maria             21   aspect of the WMI system. Doing anything that was
           22   Suarez?                                               22   in status 40 and closing the PO after consulting
           23       A. This was furnished the week after              23   with the receiving clerk to make sure that it was
           24   go-live, I believe.                                   24   truly complete and could be closed.
           25       Q. Do you know if any of these things were        25       Q. How about ensuring all returned


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                                                      Page 65                                                    Page 67
            1                M. JOHNSON                                1               M. JOHNSON
            2   invoices are closed and complete?                      2   have to accept or reject it.
            3       A. She would have to go into the returns           3       Q. Wave management two to three types a
            4   portion of the receiving screen. Do everything         4   week. What's in a wave?
            5   that was in the status 40 and complete those as        5       A. Set of instructions that come down for
            6   well after consulting with the returns department.     6   invoices to be picked.
            7       Q. How would she complete or cancel all            7       Q. How about complete or cancel all items
            8   items after consulting with the appropriate            8   after consulting with the appropriate individuals?
            9   individuals?                                           9       A. That would be where she would have to
           10       A. In the receiving portion of WMI system         10   go in and pick it or cancel the invoice.
           11   she would go in and put 32 on the line to verify      11       Q. How would she ensure that the waves are
           12   the receipt.                                          12   in correct status?
           13       Q. How about the stock locator every day          13       A. She would have to consult with the
           14   ensure all products in the location have the          14   individuals, night supervisor or day supervisor,
           15   correct status?                                       15   depending on what type of invoice it was.
           16       A. There is SCI report that you can run to        16       Q. How about the reconciliation report
           17   show anything that status other than 30, 30 is in a   17   every day?
           18   location and complete and ready for shipment.         18       A. That is a report between WMI system and
           19       Q. Turning to task management two to three        19   the Sapphire System. That is the two systems that
           20   times per week ensure that all tasks are completed    20   report the inventory, on both systems, and they
           21   correctly. What does that refer to?                   21   need to match.
           22       A. That refers to our task. There is a            22       Q. When we look at that document which is
           23   different status of each task. There is a 10 which    23   the Exhibit 5, these are the lists of things that
           24   -- 00 which means available status. In 10 print       24   were not done, correct?
           25   status someone logged in and status 20 someone        25       A. Correct.


                                                      Page 66                                                    Page 68
            1               M. JOHNSON                                 1               M. JOHNSON
            2   started working on it and status 5 which means they    2       Q. Do you have any personal knowledge of
            3   dropped out of the gun. Status 8, they put it to       3   why those items were not done?
            4   the location and needs to be verified and anything     4       A. I don't know exactly they were not
            5   other than status 00 would have to be researched to    5   done, no.
            6   figure out where it was and pushed to the correct      6       Q. Do you know how many items Maria
            7   location to make it drop off the task management.      7   actually did?
            8       Q. Were these tasks generated by the               8       A. I don't know how many were completed
            9   system?                                                9   correctly, other than I can only run reports on
           10       A. Yes.                                           10   what was not done.
           11       Q. Complete or cancel all items after             11       Q. Do you know what percentage of her work
           12   consulting with the appropriate individuals. Which    12   was actually completed correctly?
           13   individuals would have to be consulted?               13       A. I couldn't give that percentage. I
           14       A. The day warehouse supervisor and night         14   don't know what was done correctly and what was not
           15   warehouse supervisors as well.                        15   done correctly. I can only attest to what was not
           16       Q. With regard to the cycle count, every          16   done.
           17   day ensure that all counts are reconciled and         17       Q. We don't know if these undone items
           18   current. How would she do that?                       18   represent one percent of what was done?
           19       A. The ones that do not auto correct go to        19       A. I don't know the percentage, no.
           20   an error screen and she would have to go in that      20       Q. Could it be less than one percentage of
           21   error screen and accept the count or reject the       21   what was successfully done?
           22   count.                                                22       A. I don't know the percentage.
           23       Q. Complete or cancel all items each day          23       Q. Did any individual other than John
           24   after researching each discrepancy?                   24   Wilkinson ask you to prepare these reports and send
           25       A. That is what I referred to she would           25   them to them?


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            1                M. JOHNSON                                1                M. JOHNSON
            2       A. The only other person that was involved         2   was not shipped. I'd have to be there that day
            3   with reports was Kevin Randall.                        3   more to see if something was not shipped.
            4       Q. I am talking about for any other                4       Q. You don't know whether anything that
            5   facility that you implemented WMI at?                  5   she did affected the relationship with any of
            6       A. No.                                             6   Southern's customers?
            7       Q. Did you check WMI at the other                  7       A. Not directly, no. I do not know that
            8   facilities?                                            8   answer for sure.
            9       A. Yes.                                            9       Q. How about indirectly?
           10       Q. Were there issues at the other                 10       A. All of these items were not shipped.
           11   facilities?                                           11   That's all I can attest to an actual report of the
           12       A. Some, yes.                                     12   items.
           13       Q. Were there tasks that were not                 13       Q. When you say they weren't shipped, they
           14   performed at those other facilities?                  14   were not listed as shipped in the system or not
           15       A. Right after the start up, yes. After           15   delivered?
           16   another visit down or another conversation the task   16       A. Anything that was on certain reports in
           17   would then be completed correctly.                    17   here would not ship to the customer, would not
           18       Q. If Maria did not perform her job well          18   allocate to the customer.
           19   as WMI administrator what were the risks to           19       Q. Can you be more specific, I am not
           20   Southern?                                             20   understanding?
           21       A. It ran the risk of having upset                21       A. So because it's a live environment an
           22   customers and product not going out the door.         22   item has to be in a certain status in order for it
           23       Q. How would it upset the customers?              23   to ship to a customer each night. Certain parts of
           24       A. Because they are not getting their             24   this report, which is Exhibit 5, were not in the
           25   product.                                              25   correct status. It is potential for it not to ship


                                                      Page 70                                                    Page 72
            1                M. JOHNSON                                1                M. JOHNSON
            2       Q. What other risk is there?                       2   because it's not in the correct status.
            3       A. The product not actually being able to          3        Q. But that is potential risk you don't
            4   be shipped out the door.                               4   know if items did not ship because of what Maria
            5       Q. Aside from that risk was there any              5   did?
            6   other risk to Southern from her not doing her job      6        A. I cannot attest to shipping or not
            7   correctly?                                             7   shipping. I can attest to not ship. I don't know
            8       A. Other than shutting the company down,           8   if it did not ship. It's a live environment. You
            9   no. If you can't ship product, you can't do            9   would have to look to see that it did not ship to
           10   business.                                             10   that customer that day.
           11       Q. Do you know whether anything that she          11        Q. To your knowledge, did any product not
           12   ever did with regard to the WMI administration        12   ship to any customer of Southern because of what
           13   resulted in product not being shipped to customers?   13   Maria did?
           14       A. Anything that was on these reports             14        A. I can't answer the question because I
           15   would not ship for some certain reason. Certain       15   don't have the history of that day's work.
           16   reports because that they would be tied and they      16        Q. I am asking you if you know?
           17   cannot ship from that location. The way that the      17        A. I don't know, no.
           18   system works it has to be in a certain status in      18        Q. Other than what you already described
           19   order for it to ship. If it's not in the correct      19   could Maria's failure to do her job directly result
           20   status then it will not ship. If it's the only        20   in any other damage to Southern when she was WMI
           21   location, the only product and it will not ship.      21   administrator?
           22       Q. When Maria was WMI administrator was           22        A. I don't know of any damage that other
           23   there any product not shipped to a customer because   23   than product not shipping or wrong product
           24   of what she did?                                      24   shipping.
           25       A. I don't know directly that something           25        Q. Did Maria appear to you to be resistant


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                                                      Page 73                                                    Page 75
            1                M. JOHNSON                                1               M. JOHNSON
            2   to change?                                             2       Q. When employees at a facility are
            3       A. No.                                             3   trained to do WMI --
            4       Q. Was she friendly?                               4       A. Yes.
            5       A. Yes.                                            5       Q. Was John Wilkinson trained in WMI; to
            6       Q. Was she liked by others?                        6   your knowledge?
            7       A. I believe so.                                   7       A. To my knowledge he was.
            8           (Whereupon, Plaintiff's Exhibit 6              8       Q. And Maria reported to him, correct?
            9        was marked for identification.)                   9       A. Correct.
           10       Q. Can you take a moment to look at it.           10       Q. What was his title again?
           11       A. Yup. (Witness perusing document.)              11       A. I believe he was a day warehouse
           12   Okay. This is Plaintiff's Exhibit 6. Starts with      12   manager.
           13   SGWS 002104 and goes to 002166.                       13       Q. Was it important for Maria and John to
           14       Q. What is this document?                         14   have communication in order to successfully
           15       A. This is a document of all the aspect of        15   implement WMI?
           16   sheet that I had sent off in regards to the duties    16       A. Yes.
           17   and that were not completed.                          17       Q. Do you know what level communication
           18       Q. Who did you send this to?                      18   they had?
           19       A. Kevin Randall.                                 19       A. I believe they daily had communication
           20       Q. At Mr. Randall's request?                      20   verbally and emails.
           21       A. Yes.                                           21       Q. What's that based upon?
           22           (Whereupon, Plaintiff's Exhibit 7             22       A. When I was there he would verbally, he
           23        was marked for identification.)                  23   would come down to see how she was doing and she
           24       Q. I am going to show you what is marked          24   also would be sending emails at that time as well.
           25   Plaintiff's Exhibit 7.                                25       Q. Do you have any knowledge of how often


                                                      Page 74                                                    Page 76
            1                 M. JOHNSON                               1               M. JOHNSON
            2        A. Okay. (Witness perusing document.)             2   they met when you were not sitting with Maria?
            3        Q. What is this document?                         3       A. I do not have knowledge of that.
            4        A. This is a document, Plaintiff's Exhibit        4       Q. Do you know if she was asking for help
            5   7, SGWS 02164 through 002209. This document has        5   from John Wilkinson?
            6   the date November 23, which is the same document as    6       A. I do not know that.
            7   Exhibit 5.                                             7       Q. Do you know anything that they
            8        Q. This is slightly different because this        8   discussed between themselves other than what you
            9   is sent on -- if you look at the top email here        9   heard and saw when you sat with Maria in Syosset?
           10   this has a date of December 1 of 2016, correct?       10       A. I do not know of any discussions.
           11        A. Yes.                                          11       Q. Do you know whether John Wilkinson
           12        Q. And I was referring to Plaintiff's            12   refused to meet with the Maria after she became a
           13   Exhibit 7, whereas the first email on Plaintiff's     13   WMI administrator?
           14   Exhibit 5 has a date of November 28 of 2016.          14       A. I saw him with her. I don't believe
           15        A. So Plaintiff's Exhibit 5 and                  15   that he refused to see her.
           16   Plaintiff's Exhibit 7 starts with the same exact      16       Q. You only know about --
           17   email. It's just more of a chain of the same          17       A. When I was there.
           18   emails. And I believe this is the same                18       Q. Which was a total of how many weeks?
           19   information. It's the same exact information.         19       A. Four.
           20   It's just a further --                                20       Q. Do you have any knowledge of any
           21        Q. -- further forward in the chain of            21   training or assistance that John Wilkinson gave to
           22   emails or response to the chain of the emails.        22   Maria?
           23        A. Yes, if you look this further chain of        23       A. I do not.
           24   emails was from Elizabeth Toohig, not from Kevin.     24       Q. When was the last time that you spoke
           25   This top at Kevin -- this is Elizabeth's response.    25   to Maria?


                                                                                       19 (Pages 73 to 76)
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            1               M. JOHNSON                                 1               M. JOHNSON
            2        A. I honestly don't know the exact time.          2       A. No.
            3        Q. When did Tonisha Durant tell you that          3            MR. MOSER: Thank you so much for
            4   she was let go because of her performance?             4        your time. I have no further
            5        A. After -- I honestly don't know the             5        questions.
            6   date.                                                  6            MS. CABRERA: I have some questions.
            7        Q. So sometime after Maria was let go you         7    BY MS. CABRERA:
            8   had a conversation with Tonisha?                       8       Q. Melissa, you were asked about your
            9        A. Yes.                                           9   training sessions with Maria Suarez. Do you recall
           10        Q. Tonisha Durant told you that she was          10   that testimony?
           11   let go because of her performance?                    11       A. Yes.
           12        A. No, Tonisha told me that she was let          12       Q. You also testified that you had phone
           13   go. She did not say it was because of her             13   calls with her to provide her guidance; is that
           14   performance.                                          14   correct?
           15        Q. What lead you to believe that it was          15       A. Correct.
           16   about her performance?                                16       Q. Between the phone calls that you had
           17        A. I was under the assumption that she was       17   with Maria and the training that you had provided,
           18   let go because of her performance.                    18   did she at any time say to you that these were not
           19        Q. In your opinion was she able to perform       19   her job responsibilities?
           20   the duties of a WMI administrator?                    20       A. No.
           21        A. From what I witnessed I had not seen          21       Q. Did she at any time say to you that she
           22   her duties being performed 100 percent.               22   didn't understand what it was that she was suppose
           23        Q. Were they performed 90 percent?               23   to be doing?
           24        A. Approximately 90 percent.                     24       A. No.
           25        Q. Are you aware of any other lawsuits           25       Q. Did she at any time say to you that she


                                                      Page 78                                                    Page 80
            1               M. JOHNSON                                 1               M. JOHNSON
            2   other than this lawsuit against Southern?              2   was no longer responsible for the cycle counters?
            3       A. I was not aware of anything until this          3        A. No.
            4   was brought up.                                        4        Q. With regard to the Exhibit Number 2,
            5       Q. I don't want to know about anything             5   you talked about that these are a condensed version
            6   that you discussed with your attorney. That is         6   of the duties; is that correct?
            7   between you and your attorney.                         7        A. Correct.
            8            Did anyone else other than your               8        Q. Now are these all of duties that the
            9   attorney let you know that there were other            9   WMI administrator actually has to perform them or
           10   lawsuits?                                             10   is the WMI administrator allowed to delegate any of
           11       A. No.                                            11   these tasks to their direct reports?
           12       Q. Have you ever witnessed any type of            12        A. No, they have to do them themselves.
           13   discrimination in the workplace since you began       13        Q. Again, did Maria ever say to you that
           14   working at Southern?                                  14   she didn't understand any of the tasks on Exhibit
           15       A. No.                                            15   Number 2?
           16       Q. Are you aware that there are two broad         16        A. No.
           17   classifications of employees at the Syosset           17        Q. What excuse did Maria provide to you
           18   facility when it comes to union employees, clerical   18   for not completing these tasks?
           19   and warehouse?                                        19           MR. MOSER: Objection as to the
           20       A. Yes.                                           20        form.
           21       Q. Are you aware that the warehouse               21        A. The only explanation I was given was
           22   classification is 100 percent male?                   22   that she was overwhelmed.
           23       A. No.                                            23        Q. Did she ever tell you she was asking
           24       Q. Are you aware that it's been 100               24   John for help and he was refusing to help her?
           25   percent male for the past 10 years?                   25        A. No.


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            1               M. JOHNSON                                 1               M. JOHNSON
            2       Q. Who initiated you coming back to                2   presented with a Performance Improvement Plan?
            3   Syosset for a second time to train Maria in person?    3       A. I don't believe that was -- I know of a
            4       A. I believe John Wilkinson. I don't know          4   Performance Improvement Plan. I believe after the
            5   the direct person who actually requested it.           5   second week that I was there, not the first week.
            6       Q. Where do you live?                              6   The first week was the initial go-live.
            7       A. Syracuse, New York.                             7       Q. Although that was going to help her,
            8       Q. When you would go to Syosset how long           8   something was documented at the end of that first
            9   were you there?                                        9   week in October?
           10       A. A week.                                        10       A. I believe so.
           11       Q. So that was a week away from your              11       Q. What was the purpose of that
           12   family?                                               12   documentation?
           13       A. Correct.                                       13       A. Just that she had the knowledge of what
           14       Q. Is that anything that you wanted to be         14   her duties were for her job.
           15   doing?                                                15       Q. Why did she need to sign to acknowledge
           16       A. It's something that I would do. It's           16   it?
           17   not something that I would love to do but to make     17       A. I don't know exactly why she had to
           18   sure that the job is done correctly, I would do it.   18   sign, but I was assuming it was to note that it was
           19       Q. Did Maria take notes when you were             19   given to her and she was knowledgeable of what her
           20   taking this extra time to sit and train her?          20   job duties were.
           21       A. Yes.                                           21       Q. How frequently did you speak with John
           22       Q. Would she be asking follow-up                  22   Wilkinson?
           23   questions?                                            23       A. Approximately once ever two to three
           24       A. Yes.                                           24   weeks.
           25       Q. Did you have to train any other WMI            25       Q. Did John ever tell you that he had


                                                      Page 82                                                    Page 84
            1               M. JOHNSON                                 1                M. JOHNSON
            2   administrators for the additional weeks that you       2   taken away Maria's supervisory responsibility?
            3   trained Maria?                                         3        A. He never told me that, no.
            4       A. I had only gone back to a few locations         4        Q. Did John ever tell you that he was
            5   one other week.                                        5   asking Maria to do cycle counts?
            6       Q. How many times did you go back to               6        A. No.
            7   Syosset?                                               7        Q. Is that something that she should have
            8       A. I believe three.                                8   been doing?
            9       Q. So would that be an additional two              9        A. Depending on the variance. She would
           10   times?                                                10   have to do it if was a large variance and had to
           11       A. Yes.                                           11   double check to make sure that the count was
           12       Q. Did you get the sense that John was            12   correct.
           13   trying to help Maria or he was trying to sabotage     13        Q. If there was no large variance is cycle
           14   Maria?                                                14   counting that she should have been doing as a WMI
           15       A. Help her.                                      15   administrator?
           16       Q. Why did you think that he was trying to        16        A. I don't believe so, no.
           17   help her and not sabotage her?                        17        Q. If she was WMI administrator should her
           18           MR. MOSER: Objection to the form.             18   supervisory authority have been taken away?
           19       A. He was trying to help her so that she          19        A. I don't have that knowledge of whether
           20   could have the knowledge that she needed to have      20   it should be taken away or not. I am not the one
           21   for the position.                                     21   to know that.
           22           MS. CABRERA: I have no further questions.     22        Q. In your opinion, should John have told
           23    BY MR. MOSER:                                        23   you that, if he took away her supervisory
           24       Q. At the end of the first week in which          24   responsibilities?
           25   you spent with Maria in order to help her was she     25        A. The responsibilities of the WMI


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            1               M. JOHNSON                               1                  M. JOHNSON
            2   administrator is to direct the cycle counters. I     2
                                                                     3              EXHIBITS                            PAGE
            3   don't know if he had told me or not. She had to
                                                                     4
            4   direct the cycle counters.                               Plaintiff's Exhibit 5
            5       Q. If that authority had been taken away         5
            6   should John have told you?                               Emails ..................................48
                                                                     6
            7       A. That would be a change in the position,
                                                                         Plaintiff's Exhibit 6
            8   yes.                                                 7
            9           MR. MOSER: I have no further questions.          Duties not completed.....................73
           10    BY MS. CABRERA:                                     8
           11       Q. Other than today have you ever heard              Plaintiff's Exhibit 7
                                                                     9
           12   that Maria's supervisory authority had been taken        Emails....................................73
           13   away from her?                                      10
           14       A. No.                                          11            REQUESTS
           15           MS. CABRERA: No more questions.             12   NUMBER                           PAGE
                                                                    13   1. Insert address of cousin's house 29
           16           (TIME NOTED: 1:00 p.m.)                     14
           17        ______________________________.                15
           18           Melissa Johnson                             16
           19    Subscribed and sworn to                            17
                                                                    18
           20    Before me this _____day
                                                                    19
           21    ________________, 2022.                            20
           22                                                       21
           23   ____________________________                        22
                                                                    23
           24     NOTARY PUBLIC
                                                                    24
           25                                                       25

                                                     Page 86                                                               Page 88
            1             M. JOHNSON                                 1              M. JOHNSON
            2             INDEX                                      2             CERTIFICATE
            3       EXAMINATION BY                       PAGE        3   State of New York)
            4       MR. Moser                    4, 82               4   County of Nassau)
            5                                                        5       I, Camille Dandola, a Shorthand Reporter
            6                                                        6   and Notary Public of the State of New York, do
            7       MS. CABRERA                       79, 85         7   herby certify:
            8                                                        8
            9                                                        9       That, MELISSA JOHNSON, the witness whose
           10                                                       10   examination is hereinbefore set forth, was
           11                                                       11   duly sworn, and that such examination is a
           12                                                       12   true record of the testimony given by such
           13                                                       13   witness.
           14                                                       14
           15                                                       15      I further certify that I am not related
           16                                                       16   to any of the parties to this action by blood
           17                                                       17   or marriage; and that I am in no way
           18                                                       18   interested in the outcome of this matter.
           19                                                       19
           20                                                       20             _______________________________
           21                                                       21                 Camille Dandola
           22                                                       22
           23                                                       23
           24                                                       24
           25                                                       25


                                                                                         22 (Pages 85 to 88)
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            1   ERRATA SHEET FOR: MELISSA JOHNSON
                  MELISSA JOHNSON, being duly sworn, deposes and
            2     says: I have reviewed the transcript of my
                  proceeding taken on 10/04/2022. The following
            3     changes are necessary to correct my testimony.
            4   ______________________________________________
            5   PAGE LINE CHANGE                             REASON
            6   ----|----|---------------------|--------------
            7   ----|----|---------------------|--------------
            8   ----|----|---------------------|--------------
            9   ----|----|---------------------|--------------
           10   ----|----|---------------------|--------------
           11   ----|----|---------------------|--------------
           12   ----|----|---------------------|--------------
           13   ----|----|---------------------|--------------
           14   ----|----|---------------------|--------------
           15   ----|----|---------------------|--------------
           16   ----|----|---------------------|--------------
           17   ----|----|---------------------|--------------
           18   ----|----|---------------------|--------------
           19   ----|----|---------------------|--------------
           20   ----|----|---------------------|--------------
           21   ----|----|---------------------|--------------
           22   ----|----|---------------------|--------------
           23         Witness Signature:_____________________
                Subscribed and sworn to, before me
           24   this ___ day of __________, 20 ___.
                ____________________ ___________________
           25   (NOTARY PUBLIC)                    MY COMMISSION EXPIRES




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